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MCKINNIE LAW OFFICE
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Boise, ID 83707

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Attomey For Defendant

UNITED STA TES DISTRICT COURT

FOR THE DISTRICT OF ]DAHO
UNlTED STATES OF AMERICA,
Plaintifl`, Case No. CRl 8-0258-SEJL
vs. AFFIDAVIT OF JEFFREY
MCKINNIE IN SUPPORT OF
ARTUR PUPKO, MOTlON TO WITHDRAW AS
ATTORNEY OF RECORI)
Defendant.

 

 

JEFFREY MCKINNIE, having been duly sworn under oath, does hereby state and aH'lrm
that l have personal knowledge regarding the captioned case and I am competent to testify as to
matters concerning the above-entitled action:

l. I am a licensed attorney in Boise, Idaho;

2. I am licensed to practice law in the State of Idaho and the Federal District Court in

Idaho;
3. The address of Mcannie Law Off`lce is 1211 W. Myrtle St., #350, Boise, Idaho;

4. I am currently the attorney of record for the Defendant in the above-entitled action;

AFF|DAVIT OF JEFFREY MCK|NNIE lN SUPPORT OF MOTlON TO WITHDRAW AS A'I'I`ORNEY OF RECORD
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5. The Defendant in the above entitled-action is one of several persons indicted on or
about the week of August 20, 2018 for alleged criminal acts involving the sell of
counterfeit cellphones and money laundering, all in violation of federal law;

6. Based upon information and/or recent published reports, on or about the week of
August 20, 2018, the Government also indicted several defendants in drug and
weapons-related offenses, all in violation of federal law;

7. Based upon information and/or published reports, the indictments in the drug and
weapons-related indictments may be connected to the indictments in the above case
involving the sells of counterfeit cellphones and money laundering;

8. Based upon those reports published on or about August 24, 2018, it has come 10 my
attention that I am currently also representing a named defendant in the drug and
weapons-related indictment;

9. I have not received discovery related to either of the two indictments;

10. l have not discussed the substantive merits of the case with the Def`endant in the
above-entitled case or the defendant in the drug and weapons-related case;

11. Based upon my review of the State and Federal Rules of Professional Conduct, there
may be a potential conflict of interests, thereby requiring that I withdraw as attorney
of record in this case;

12. l have discussed my conflict of interest concerns with the Defendant in the above-
entitled case;

13. Further, your affiant sayeth naught.

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DATED this 27"1 day of August 2018. z §

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STATE OF |DAHO

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CERTIFICATE OF SERVICE

l HEREBY CERTIFY that on this August 27, 2018, I filed the foregoing electronically
through the CM/ECF system, which cause the following parties or counsel to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing.

United States Attomey
Washington Group, Plaza lV
800 Park Blvd. Suite 600
Boise, lD 83712

Fax: (208) 334-1413

/s/
JEFFREY MCKINNIE

AFF|DAV|T OF JEFFREY MCK|NN|E lN SUPPORT OF MOTlON TO WlTHDRAW AS ATTORNEY OF RECORD
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